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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


GLORIA TANKESLY, as personal representative
of JAMES TANKESLY, deceased.

              Plaintiffs,
v.                                                                No. 2:18-cv-00996-JCH-KRS


J.C. PENNEY CORPORATION, INC.

              Defendant.


            ORDER GRANTING STIPULATED MOTION TO EXTEND
       DISCOVERY DEADLINE AND SUBSEQUENT DEADLINES CONTAINED
                      IN THE SCHEDULING ORDER

       THIS MATTER having come before the Court upon the Stipulated Motion to Extend

Discovery Deadline and Subsequent Deadlines Contained in the Scheduling Order, the Court

having reviewed said Motion and otherwise being fully advised in the premises FINDS that the

Motion is well taken and that should be granted.

       It is therefore ORDERED, ADJUDGED AND DECREED that the Scheduling Order to

be modified as follows:

       1.     Termination of discovery: October 16, 2019;

       2.     Motions relating to discovery: November 15, 2019;

       3.     Expert Disclosure Deadline: Plaintiff to Defendant by August 16, 2019

                                            Defendant to Plaintiff by September 16, 2019.

       4.     All other motions, including dispositive and Daubert motions: December 16,

              2019;

       5.     Pretrial order: Plaintiff to Defendant by December 31, 2019;
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                     Defendant to Court by January 7, 2020.

6.    All other deadlines and provisions contained in the Scheduling Order shall remain

      unaffected by the entry of this Order.



                                                  ___________________________
                                                  KEVIN R. SWEAZEA
                                                  United States Magistrate Judge
